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 1   Burke Huber
     Nevada State Bar No. 10902
 2   RICHARD HARRIS LAW FIRM
     801 South 4th Street
 3   Las Vegas, Nevada 89101
     Tel: (702) 444-4444
 4   Email: burke@richarcharrislaw.com
     Attorneys for Plaintiff
 5

 6                                 UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8    BRENNA SCHRADER, an individual, on
      behalf of herself and all others similarly
 9    situated,                                           Case No. 2:19-cv-02159-JCM-BNW
10                   Plaintiff,
11            vs.
                                                          STIPULATION TO EXTEND
12    STEPHEN ALAN WYNN; an individual;                   DEADLINE FOR PLAINTIFF TO FILE
      MAURICE WOODEN, an individual, WYNN                 RESPONSES TO DEFENDANTS’
13    LAS VEGAS, LLC dba WYNN LAS VEGAS                   OBJECTIONS TO THE MAGISTRATE
      a Nevada Limited Liability, WYNN                    JUDGE’S RULING ON PLAINTIFF’S
14    RESORTS, LTD, a Nevada Limited Liability            MOTION SEEKING LEAVE TO FILE
      Company; and DOES 1-20, inclusive; ROE              A FIRST AMENDED COMPLAINT
15    CORPORATIONS 1-20, inclusive,
                                                          (FIRST REQUEST)
16                   Defendants.
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            IT IS HEREBY STIPULATED by and between Plaintiff, Brenna Schrader, (“Plaintiff”),
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     through her counsel Burke Huber, at the Richard Harris Law Firm, and Defendants, Wynn Las
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     Vegas, LLC (“Defendant Wynn, LLC”) and Wynn Resorts, Ltd. (“Defendant Resorts”), through
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     their counsel Jackson Lewis P.C., Defendant, Stephen Alan Wynn (“Mr. Wynn”), through his
22
     counsel Peterson Baker, PLLC, and Defendant, Maurice Wooden (“Mr. Wooden”), by and through
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     his counsel Kennedy & Couvillier, (collectively “Defendants”), that Plaintiff shall have an
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     extension to January 13, 2021 to file a response to all objections.
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 1               This Stipulation is submitted and based upon the following:

 2          1.        On December 23, 2020, Defendants filed objections to the Magistrate Judge’s ruling

 3   on Plaintiff’s Motion Seeking Leave to file a first amended complaint. [ECF Nos. 82, 83, 84, and

 4   85].

 5          2.        Defendant filed four objections on December 23, 2020, immediately before the

 6   Christmas holiday.

 7          3.        Plaintiff’s counsel’s entire office was away on vacation beginning December 24,

 8   2020 until January 4, 202.

 9          4.        Due to the holiday season and vacation schedules, Plaintiff’s counsel has not had an

10   opportunity to review all four objections.

11          5.        This request is made in good faith and not for the purpose of delay and is only a

12   seven (7) day request.

13          6.        This is the first request for an extension of time for Plaintiff to file responses to

14   Defendants’ objections.

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 1   Dated this 6th day of January 2021.

 2     RICHARD HARRIS LAW FIRM                           JACKSON LEWIS P.C.
 3
       /s/ Burke Huber                                   /s/ Joshua A. Sliker
 4     Richard Harris, Bar No. 505                       Deverie J. Christensen, Bar No. 6596
       Benjamin Cloward, Bar No. 11087                   Joshua A. Sliker, Bar No. 12493
 5     Burke Huber, Bar No. 10902                        Daniel Aquino, Bar No. 12682
       801 S. Fourth Street                              300 S. Fourth Street, Ste. 900
 6     Las Vegas, Nevada 89101                           Las Vegas, Nevada 89101
 7     Attorney for Plaintiff
       Brenna Schrader                                   Attorneys for Defendants
 8                                                       Wynn Las Vegas, LLC and Wynn Resorts,
                                                         Ltd.
 9
       KENNEDY & COUVILLIER                              PETERSON BAKER, PLLC
10

11     /s/ Maximiliano Couvillier                        /s/ Tamara Beatty Peterson
       Maximiliano D. Couvillier, Bar No. 7661           Tamara Beatty Peterson, Bar No. 5218
12     3271 E. Warm Springs Road                         701 S. 7th Street
       Las Vegas, Nevada 89120                           Las Vegas, Nevada 89101
13     Attorney for Defendant                            Attorney for Defendant
       Maurice Wooden                                    Stephen Alan Wynn
14

15

16   ORDER
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     IT IS SO ORDERED:
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19
     United
     UNITED States DistrictDISTRICT
               STATES       Court/Magistrate
                                     JUDGE   Judge
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21           January 11, 2021
     Dated: _________________________
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